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                                                                                                    2018 May-09 AM 11:52
                                                                                                    U.S. DISTRICT COURT
                                                                                                        N.D. OF ALABAMA


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   MIDDLE DIVISION

PLAINTIFF,                                         )
                                                   )
                 Plaintiff,                        )
                                                   )
       vs.                                         )       Case Number ________________
                                                   )
DEFENDANTS, et al.,                                )
                                                   )
                 Defendants.                       )


                                 [PROPOSED] PRETRIAL ORDER

         A pretrial conference was held in the above case on ___________________, wherein or

 as a result of which, the following proceedings were held and actions taken:

         1.       APPEARANCES

         Appearing at the conference were:

For Plaintiff:


For the Defendants:


         2.       JURISDICTION AND VENUE

         a.       The court has subject matter jurisdiction of this action pursuant to

         [List each statute, rule, or case that is claimed to authorize the court’s jurisdiction in

 this action.]

         b.       All jurisdictional and procedural requirements prerequisite to maintaining this

 action have been met.

         c.       The Defendants do/do not contest personal jurisdiction, or venue in this district

 and division.
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       [Is personal jurisdiction or venue contested; briefly set out the relevant arguments.]

       3.        PARTIES AND TRIAL COUNSEL

       Any remaining fictitious parties are hereby STRICKEN. The parties before the Court

and designated trial counsel are correctly named as set out below:

       Parties                                        Trial Counsel




       4.        PLEADINGS

       The following pleadings have been allowed:

       [List the pleadings in the order in which they were filed and allowed. Do not include

pleadings that have been stricken or otherwise disallowed. See Rule 7(a) for a list of allowable

pleadings.]

                 a.



       5.        STATEMENT OF THE CASE

                 a.    Narrative Statement of the Case

       [The parties shall briefly summarize the case without using "color" words or

argument. In most cases, this should require no more than three or four sentences. In a jury

trial, this section will be read to the jury venire during the jury selection process.]

                 b.    Undisputed Facts

       [The parties shall set out in separate numbered paragraphs each fact that is not in

dispute. The parties are reminded that the court expects them to approach this task in a good

faith effort to agree on all relevant facts for which there is no reasonable basis for
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disagreement in an effort to reduce the need for evidence at and length of the trial. In a jury

trial, this section will be read to the jury and the jury will be instructed to accept these facts as

true.]

                c.     Plaintiff’s Claims

         [For each defendant, each plaintiff shall concisely state each legal theory relied upon

and shall set out the factual allegations which he/she expects to prove in support of each such

legal theory. Vague, conclusory and general claims and allegations are not acceptable. In

other words, no weasel wording. By this stage of the proceedings the plaintiff is expected to

know what the claims are and must state precisely the issues expected to be tried. Each claim

must be set out in a separately numbered paragraph, appropriately labeled. Think common

law pleading. Under each claim, the plaintiff shall list any citations to the major cases,

statutes, etc. that support his/her legal theory.]

                d.     Defendants’ Defenses

         [For each claim against him, each defendant shall concisely state each legal theory

relied upon and shall set out the factual allegations which he/she expects to prove in support

of each such legal theory. Vague, conclusory and general claims and allegations are not

acceptable.    In other words, no weasel wording.          By this stage of the proceedings the

defendant is expected to know what the defenses are and must state precisely the issues

expected to be tried. Each defense must be set out in a separately numbered paragraph,

appropriately labeled. Think common law pleading. Under each defense, the defendant shall

list any citations to the major cases, statutes, etc. that support his/her legal theory.]

         6.     DISCOVERY AND OTHER PRETRIAL PROCEDURES

                a.     Pretrial Discovery.
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     Pursuant to previously entered orders of the court, discovery is closed. [OR]

     The parties are given leave to proceed with further discovery provided it is

     commenced in time to be completed by _____________________.

     b.     Pending Motions.

            [List all pending motions or state that there are no motions pending.

     Motions should be listed in separately numbered paragraphs, leaving sufficient

     space for the court to indicate its rulings below each listed motion.]

     c.     Evidentiary Issues and Motions in Limine . Most evidentiary issues may

     be resolved through a stipulation of the parties. A motion in limine should be filed

     only if there is genuine disagreement. Prior to filing any motion in limine, moving

     counsel shall contact the opposing counsel and determine if there will be

     opposition to the motion. All motions in limine shall include, in the caption under

     the case number, a notation that the motion is “Opposed” or “Unopposed.” In

     addition, the first paragraph SHALL briefly summarize the parties’ attempt to

     resolve the issue and set forth areas of agreement and disagreement. If the motion

     is opposed, the Court will withhold ruling on the motion for a period of three

     business days to permit opposing counsel time to submit a response to the motion.

     The court may enter a briefing schedule for a particular motion which will

     supersede this general schedule. Motions in limine must be filed at least one week

     in advance of the scheduled trial date and shall be accompanied by supporting

     memoranda.

7.   Unless otherwise ordered, parties shall follow the deadlines for pretrial

     disclosures established in Fed. R. Civ. P. 26(a)(3). Within seven (7) calendar
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     days after disclosure indicating testimony will be presented by deposition,

     responsive or rebuttal portions of deposition testimony shall be designated and

     opposing counsel shall be notified of any objections. Thereafter, the parties shall

     meet and attempt to work out all objections to the proposed deposition testimony.

     If there are unresolved objections after the parties consult, at least fourteen (14)

     days before trial the parties shall submit to the court, in writing, proposed

     deposition testimony and any unresolved objections thereto. A brief argument

     may be submitted at that time, if necessary. All objections not made as required

     by this order shall be deemed waived.

8.   TRIAL – (JURY)

     At least ten business days prior to the scheduled trial date, the parties must file a

     single, joint proposed jury charge, including all necessary instructions, or

     definitions applicable to the specific issues of the case. The parties need not

     submit standard generic instructions regarding routine matters; e.g., burden of

     proof, credibility of witnesses, duty of jurors, etc.

     a.    In joint, proposed jury materials, counsel are to include all necessary

     instructions or definitions, specifically including (1) the prima facie elements of

     each cause of action and defense asserted; (2) legal definitions required by the

     jury; (3) items of damages; and (4) methods of calculation of damages. Counsel

     are to use the 11th Circuit Pattern Jury Instructions, or appropriate state pattern

     jury instructions, as modified by case law or statutory amendments, wherever

     possible.   Any deviations must be identified, and accompanied with legal

     authorities for the proposed deviation.
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    b. Even if the parties, in good faith, cannot agree on all instructions, definitions

    or questions, the parties should nonetheless submit a single, unified charge. Each

    disputed instruction, definition, or question should be set out in bold type,

    underline or italics and identified as disputed. Each disputed item should be

    labeled to show which party is requesting the disputed language. Accompanying

    each instruction that deviates from pattern charges shall be all authority or related

    materials upon which each party relies. The parties shall also submit a copy as an

    e-mail submission to England_chambers@alnd.uscourts.gov.

    c. If the verdict form will include special interrogatories for the jury to answer,

    counsel shall include such special interrogatories with their proposed jury

    instructions.

    Or

    TRIAL – (NON-JURY)

    a.     If the parties wish to submit trial briefs OR if the court directs the parties

    to submit trial briefs, they shall file them along with a court’s courtesy copy, with

    the Clerk of the Court at least one week in advance of trial. The Clerk will

    forward the court’s courtesy copy to chambers. DO NOT hand deliver copies to

    chambers.       Also, the trial briefs shall be sent as an e-mail submission to

    England_Chambers@alnd.uscourts.gov.

    b.     At least one week in advance of trial, each party shall submit to the Clerk

    of the Court, a proposed trial order which will be forwarded by the Clerk to

    chambers. This trial order shall include: (1) a statement of undisputed facts, (2)

    proposed findings of fact as to facts that are in dispute, and (3) proposed
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              conclusions of law. The proposed findings of fact shall include citations to the

              witness(es), document(s), or other evidence the party expects to support each

              proposed finding of fact. The parties may rely on statements of undisputed facts

              contained in the joint status report or the pretrial order in ascertaining which

              proposed findings of fact are undisputed, but shall not incorporate these facts by

              reference. Each party’s proposed trial order shall also be sent as an e-mail

              submission to England_Chambers@alnd.uscourts.gov.

       9.     TRIAL DATE

              a.      This case is set for a [jury/non- jury] trial on _____________________,

              to be held at the Hugo L. Black U.S. Courthouse at 1729 Fifth Avenue North,

              Birmingham, AL 35203.

              b.      This case will be ready for trial on or after _____________________.

       It is ORDERED that the above provisions be binding on all parties unless modified by

further order for good cause shown.

       DONE this ___ day of _____________ 20__.




                                           ___________________________________

                                           JOHN H. ENGLAND, III
                                                UNITED STATES MAGISTRATE JUDGE
